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             EXHIBIT 12
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Lucas Bento

From:                                  Andres Rivero <arivero@riveromestre.com>
Sent:                                  Friday, June 18, 2021 11:01 PM
To:                                    Lucas Bento
Subject:                               Response to 1782 petition subpoena directed to Sam Anson


                                         [EXTERNAL EMAIL from arivero@riveromestre.com]


Dear Lucas:

As discussed, I am supplying the information requested in the subpoena directed to Sam Anson. I will provide a more
formal discovery response on Monday but this information will remain unchanged.

    1. Mr. Anson has no documents responsive to the subpoena; and
    2. Mr. Anson has reason to believe that FusionGPS located in Washington, D.C. provided information to Marcus
       Barum that was published in his article dated November 11, 2017.

Best regards,

Andres Rivero

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